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           IN THE UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
IN RE:                             §
                                   §
Garden Oaks Maintenance Org., Inc. § CASE NO. 18-60018-H2-11
                                   §
     DEBTOR                        §
  AMENDED 1 EMERGENCY MOTION TO APPROVE SOLICITATION
                                MATERIAL


THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY
AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD
IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE
DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY.
YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF
THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE APPLICATION SHOULD NOT BE GRANTED. IF YOU
DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
APPLICATION AND HAVE NOT REACHED AN AGREEMENT, YOU
MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE APPLICATION AT THE HEARING.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU
WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO
THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE

REPRESENTED                     PARTIES            SHOULD             ACT         THROUGH               THEIR
ATTORNEY.
           COMES NOW, Garden Oaks Maintenance Organization, Inc., (“Debtor” or
“GOMO”) and files its Emergency Motion To Approve Solicitation Material, and
would respectfully show the Court as follows:

1
    Motion Is Amended Solely To Provide The Exhibit That Was Inadvertently Left Off Of The Original Motion.
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  1. In conjunction with the solicitation for approval of the Debtor’s Chapter
     11 Plan, the Debtor proposes the following procedures, and materials
     for consideration and approval by the Court:
        a. Exhibit A to be included in all packages for all classes, printed
           on yellow paper.

        b. Classes 1, 2, 3 and 4
               i. Summary
              ii. Ballot
             iii. Order Setting Deadlines
             iv. Plan (exhibits on request)
              v. Disclosure Statement (exhibits on request)

        c. Class 5(a)
               i. Summary
              ii. Ballot
             iii. Order Setting Deadlines
             iv. Plan (exhibits on request)
              v. Disclosure Statement (exhibits on request)
             vi. Redlined and Clean Version of Bylaws
            vii. Redlined and Clean Version of Section 1 Amended Deed
                  Restrictions

        d. Class 5(b)
               i. Summary
              ii. Ballot
             iii. Order Setting Deadlines
             iv. Plan (exhibits on request)
              v. Disclosure Statement (exhibits on request)
             vi. Redlined and Clean Version of Bylaws
            vii. Redlined and Clean Version of Section 2 Amended Deed
                  Restrictions

        e. Class 5(c)
               i. Summary
              ii. Ballot
             iii. Order Setting Deadlines
             iv. Plan (exhibits on request)
              v. Disclosure Statement (exhibits on request)
             vi. Redlined and Clean Version of Bylaws
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                     vii. Redlined and Clean Version of Section 3 Amended Deed
                          Restrictions

                f. Class 5(d)
                       i. Summary
                      ii. Ballot
                     iii. Order Setting Deadlines
                     iv. Plan (exhibits on request)
                      v. Disclosure Statement (exhibits on request)
                     vi. Redlined and Clean Version of Bylaws
                    vii. Redlined and Clean Version of Section 5 Amended Deed
                          Restrictions

      WHEREFORE, the Debtor requests the Court to approve the solicitation
      materials and plan provided, and to grant it such other and further relief, at
      law or in equity, to which it may be justly entitled.
      Dated: January 28, 2019.
                                               Respectfully submitted,

                                               By: /s/ Johnie Patterson
                                               Johnie Patterson
                                               State ID# 15601700
                                               ATTORNEY FOR THE DEBTOR
   OF COUNSEL:
   WALKER & PATTERSON, P.C.
   P.O. Box 61301
   Houston, TX 77208
   713.956.5577
   713.956.5570 (fax)

                             CERTIFICATE OF SERVICE
       I, Johnie Patterson, hereby certify that a true and correct copy of the foregoing
Motion has been served upon Mr. Charles Rubio, and upon all other parties receiving
notice through CM/ECF, by electronic transmission on January 28, 2019.

                                                 /s/ Johnie Patterson
                                               Johnie Patterson
